Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 1 of 28

JS 44 (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local miles of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

i. (a) PLAINTIFFS

Deborah Blair
413 Radcliffe Way, Downingtown, PA 19335

(b) County of Residence of First Listed Plaintiff Chester
(EXCEPT IN U.S. PLAINTIFF CASES)

(e) Attorneys (Firm Name, Address, and Telephone Number}

Brian L. McCarthy, Esq., Egan & McCarthy
657 Exton Commons, Exton, PA 19341, 610-567-3436

Attorneys (If Known)

 

DEFENDANTS

The Vanguard Group, Inc.
100 Vanguard Boulevard, Malvern, PA 19355

Chester

County of Residence of First Listed Defendant

(IN U.S. PLAINTIFF CASES ONL¥}

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

if. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

(For Diversity Cases Only)

Ii. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

O1 US. Government AZ Federal Question PIF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State 1 1 Incorporated or Principal Place o4 a4
of Business In This State
2 U.S. Government O14 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place o5 a5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject of a O 3 O 3 > Foreign Nation o6 O86
Foreign Country
IV. NATURE OF SUIT (@ucce an “x” in One Box Only} Click here for: ature <
[ CONTRACT TORTS FORFEITURF/PENALTY BANKRUPTCY
CI 110 Insurance PERSONAL INJURY PERSONALINJURY | 625 Dmg Related Seizure C1 422 Appeal 28 USC 158 Ci 375 False Claims Act
© 120 Marine C310 Airplane ©] 365 Personal Injury - of Property 21 USC 881 {C423 Withdrawal © 376 Qui Tam (31 USC
130 Miller Act 1 315 Airplane Product Product Liability 1 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability © 367 Health Care/ © 400 State Reapportionment
C1 150 Recovery of Overpayment {( 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury C1 820 Copyrights © 430 Banks and Banking
(I 151 Medicare Act (1 330 Federal Employers’ Product Liability OG 830 Patent © 450 Commerce
G 152 Recovery of Defaulted Liability C1 368 Asbestos Personal 835 Patent - Abbreviated C) 460 Deportation
Student Loans CI 340 Marine Injury Product New Drug Application {C1 470 Racketeer Influenced and
(Excludes Veterans} © 345 Marine Product Liability 1 840 Trademark Corrupt Organizations
€ 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY 480 Consumer Credit
of Veteran’s Benefits CI 350 Motor Vehicle O 370 Other Fraud © 710 Fair Labor Standards O 861 HIA (1395ff) O 490 Cable/Sat TV
Ci 160 Stockholders’ Suits 1 355 Motor Vehicle © 371 Truth in Lending Act © 862 Black Lung (923) CI 850 Securities/Commodities/
190 Other Contract Product Liability © 380 Other Personal 1 720 Labor/Management Cl 863 DIWC/DIWW (405(g)) Exchange
195 Contract Product Liability {0 360 Other Personal Property Damage Relations (7 864 SSID Title XVI (1) 890 Other Statutory Actions
C196 Franchise Injury © 385 Property Damage (7 740 Railway Labor Act 1 865 RSI (405(g)) (1) 891 Agricultural Acts
CI 362 Personal Injury - Product Liability C1 751 Family and Medical C1 893 Environmental Matters
_ _ Medical Malpractice Leave Act (1 895 Freedom of Information
L REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS _|( 790 Other Labor Litigation FEDERAL TAX SUITS Act
210 Land Condemnation C1 440 Other Civil Rights Habeas Corpus: 1 791 Employee Retirement 1 870 Taxes (U.S. Plaintiff (1 896 Arbitration

OG 220 Foreclosure 1 441 Voting O 463 Alien Detainee

Income Security Act

 

 

 

 

 

 

or Defendant)
0 871 IRS—Third Party

 

CO} 899 Administrative Procedure
Act/Review or Appeal of

 

) 230 Rent Lease & Ejectment (X 442 Employment 1 510 Motions to Vacate
© 240 Torts to Land Ci 443 Housing/ Sentence 26 USC 7609 Agency Decision
(i 245 Tort Product Liability Accommodations 1 530 General C1 950 Constitutionality of
CF 290 All Other Real Property G 445 Amer. w/Disabilities - {1 535 Death Penalty IMMIGRATION State Statutes
Employment Other: 1 462 Naturalization Application
C446 Amer. w/Disabilities - }( 540 Mandamus & Other {( 465 Other Immigration
Other 550 Civil Rights Actions
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C1 560 Civil Detainee -
Conditions of
Confinement
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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VE CAUSE OF ACTION

Brief description of cause:

 

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
42 U.S.C. 2000e; 42 U.S.C. 12101: 29 U.S.C. 2601

Employment Discrimination and Retaliation (sexual harassment, disability), FMLA Retaliation

 

 

 

 

 

Vif. REQUESTED IN Cl CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R-Cv.P. 150,000.00 JURY DEMAND: Yes ONo
VI. RELATED CASE(S)
‘See instructi i:
IF ANY meen” DGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
12/05/2018 GZ ee foe
FOR OFFICE USE ONLY = = a

AMOUNT APPLYING IFP

JUDGE

MAG. JUDGE
Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 2 of 28
i544 (Bev, 0617) CIVIL COVER SHEET

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Deborah Blair The Vanguard Group, Inc.
413 Radcliffe Way, Downingtown, PA 19335 100 Vanguard Boulevard, Malvern, PA 19355
(b) County of Residence of First Listed Plaintiff Chester County of Residence of First Listed Defendant _Chester
(EXCEPT IN U.S. PLAINTIFF CASES) {IN U.S. PLAINTIFF CASES ONLY)

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(c) Attorneys (Firm Name, Address, and Telephone Number) Attorneys (If Known)

Brian L. McCarthy, Esq., Egan & McCarthy
657 Exton Commons, Exton, PA 19341, 610-567-3436

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only) TIL CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
O 1 US. Government 2&3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State o1 © 1. Incorporated or Principal Place O4 4
of Business In This State
2 US. Government 4 Diversity Citizen of Another State 2 © 2 Incorporated and Principal Place os 05
Defendant (Indicate Citizenship of Parties in Item HI) of Business In Another State
Citizen or Subject of a O3 © 3 > Foreign Nation oe O86
Foreign Country
IV. NATURE OF SUIT (Piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
L _CONTRACT. TORTS FORFEFTURE/PENALTY. ___ BANKRUPTCY | OTHER STATUTES ]
1 110 Insurance PERSONAL INJURY PERSONALINJURY {11 625 Drug Related Seizure ( 422 Appeal 28 USC 158 C1 375 False Claims Act
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& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 4 430 Banks and Banking
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Student Loans C1 340 Marine Injury Product New Drug Application | 470 Racketeer Influenced and
(Excludes Veterans) (1 345 Marine Product Liability (1 840 Trademark Corrupt Organizations
A 153 Recovery of Overpayment Liability PERSONAL PROPERTY _LABOR SOCIAL SECURITY. © 480 Consumer Credit
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__ Medical Malpractice Leave Act 1 895 Freedom of Information
|____ REAL PROPERTY CIVIL RIGHTS _ PRISONER PETITIONS | 790 Other Labor Litigation FEDERAL TAX SUITS Act
( 210 Land Condemnation C1 440 Other Civil Rights Habeas Corpus: 1 791 Employee Retirement ( 870 Taxes (U.S. Plaintiff O 896 Arbitration
1 220 Foreclosure 0 441 Voting 1 463 Alien Detainee Income Security Act or Defendant) (1 899 Administrative Procedure
C1 230 Rent Lease & Ejectment &X 442 Employment C1 510 Motions to Vacate QO 871 IRS—Third Party Act/Review or Appeal of
1 240 Torts to Land O 443 Housing/ Sentence 26 USC 7609 Agency Decision
(1 245 Tort Product Liability Accommodations 1 530 General 1 950 Constitutionality of
© 290 All Other Real Property 1 445 Amer. w/Disabilities - {0 535 Death Penalty IMMIGRATION State Statutes
Employment Other: 1 462 Naturalization Application
C1 446 Amer. w/Disabilities - | 540 Mandamus & Other |(1 465 Other Immigration
Other QO 550 Civil Rights Actions
OF 448 Education. (1 555 Prison Condition
1 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

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Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
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Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
42 U.S.C. 2000e; 42 U.S.C. 12101; 29 U.S.C. 2601

Brief description of cause:
Employment Discrimination and Retaliation (sexual harassment, disability), FMLA Retaliation

VI. CAUSE OF ACTION

 

 

 

 

 

 

 

VII. REQUESTED IN C1 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 150,000.00 JURY DEMAND: 3M Yes ONo
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See instructi ie
IF ANY (Beeinsiructions): ae DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
12/05/2018 Cee —1_ a
FOR OFFICE USE ONLY -_

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 3 of 28

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

Addresa of Plait: 413 Radcliffe Way, Downingtown, PA 19335
Address of Defendant: 100 Vanguard Boulevard, Malvern, PA 19355

Place of Accident, Incident or Transaction: Vang Var A k C am pt LQ 7 Ma! vet C\ p {vy

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

Civil cases are deemed related when Yes is answered to any of the following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year Yes [| No|W/]
previously terminated action in this court?

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit Yes [| No
pending or within one year previously terminated action in this court?

3. Does this case involve the validity or infringement of a patent already in suit or any earlier Yes [ | No
numbered case pending or within one year previously terminated action of this court?

4. Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights Yes [| No Vv

case filed by the same individual?

I certify that, to my knowledge, the within case Lis / [2] isnot related to any case now pending or within one year previously terminated action in
this court except as noted above.

pare, 12/05/2018 fy 319722

Attorney-at-Law / Pro Se Plaintiff Attorney ID. # (if applicable)

 

 

CIVIL: (Place a ¥ in one category only)

 

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
O i. Indemnity Contract, Marine Contract, and All Other Contracts [] 1. Insurance Contract and Other Contracts
CJ] 2. FELA LJ] 2. Airplane Personal Injury
[C] 3. Jones Act-Personal Injury LI 3. Assault, Defamation
CL] 4. Antitrust [] 4. Marine Personal Injury
H 5. Patent L] 5. Motor Vehicle Personal Injury
6. Labor-Management Relations LJ 6. Other Personal Injury (Please specify):
LC] 7. Civil Rights L] 7. Products Liability
[] 8. Habeas Corpus CI 8. Products Liability — Asbestos
H 9. Securities Act(s) Cases [J 9. Allother Diversity Cases
10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases

(Please specify): “ttle VIVADA Discrimination, FMLA retaliatior

 

 

 

ARBITRATION CERTIFICATION
(The effect of this certification is to remove the case Jrom eligibility for arbitration.)

, ___Brian Lee McCarthy

> counsel of record or pro se plaintiff, do hereby certify:

 

Pursuant to Local Civil Rule 53.2, § 3(c) (2), that to the best of my knowledge and belief, the damages recoverable in this civil action case
exceed the sum of $150,000.00 exclusive of interest and costs:

[| Relief other than monetary damages is sought.

pare, 12/05/2018 L——_ 319722
Yftorney-at-Law /Pré Se Plaintiff Attorney ID. # (if applicable)

NOTE: A trial de novo will be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

 

 

Civ, 609 (5/2018)
Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 4 of 28

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

DESIGNATION FORM
(to be used by counsel or pro se plaintiff to indicate the category of the case for the purpose of assignment to the appropriate calendar)

413 Radcliffe Way, Downingtown, PA 19335
100 Vanguard Boulevard, Malvern, PA 19355

Address of Plaintiff:

Address of Defendant:
{

Place of Accident, Incident or Transaction: Vang vaca S Can eh ( 4 ; Ma | yet p &

 

RELATED CASE, IF ANY:

Case Number: Judge: Date Terminated:

 

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case filed by the same individual?

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parr. 12/05/2018 Is x 319722
* Asethey-arLiw I Pro we Plai if Mo Attorney LD. # (if applicable)

     

 

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CIVIL: (Place a ¥ in one category only) —

 

A, Federal Question Cases: B. Diversity Jurisdiction Cases:
O 1. Indemnity Contract, Marine Contract, and All Other Contracts Oo 1 Insurance Contract and Other Contracts
[] 2. FELA LJ 2. Airplane Personal Injury
(1 3. Jones Act-Personal Injury CI 3. Assault, Defamation
OO 4. Antitrust [] 4. Marine Personal Injury
H 5, Patent L] 5. Motor Vehicle Personal Injury
6. Labor-Management Relations LJ] 6. Other Personal Injury (Please specify):
C] 7. Civil Rights LI 7. Products Liability
CJ 8. Habeas Corpus ($8. Products Liability — Asbestos
H 9. Securities Act(s) Cases LJ] 9. All other Diversity Cases
10. Social Security Review Cases (Please specify):
11. All other Federal Question Cases

(Please specify): itle VIIVADA Discrimination, FMLA retaliatior

 

 

 

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(The effect of this certification is to remove the case from eligibility for arbitration.)

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Attorney-cat-Law LPO Se Plaintiff Attorney LD. # (if applicable)

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Civ. 609 (5/2018)

 
Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 5 of 28

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
5 q .
Deborah Plate : CIVIL ACTION

T he Vand wis Gree , iC, 3 NO.

In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Desi gnation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assi gned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus — Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Social Security — Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration — Cases required to be designated for arbitration under Local Civil Rule 53.2. ({ )

(d) Asbestos — Cases involving claims for personal injury or property damage from
exposure to asbestos. ( )

(e) Special Management — Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by

the court. (See reverse side of this form for a detailed explanation of special
management cases.) )

(f) Standard Management — Cases that do not fall into any one of the other tracks. OK

DS2olY bcank Mo (rn Plaines

Date —~ ° Attorney-at-law “ ttorney for
b(0-$ w1-B4>Ilo |- 61) -435~ 54K, e4al Mca ltl wis (OAS \ GON

Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 6 of 28

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM
=
Deborah Blate CIVIL ACTION

T he Vana Yul S GOV, rac, : NO.

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Date Attorney-at-law “ Attorney for ‘
blo-$ w1- 34> 0 [= G10 -4dS~ SKK equi Moa/ tog | ivy L0AS \ 46
Telephone FAX Number E-Mail Address

(Civ. 660) 10/02
Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 7 of 28

Egan & McCarthy, Attorneys at Law
Gerard P. Egan, Esq. (20744)

Brian L. McCarthy, Esq. (319722)

657 Exton Commons

Exton, PA 19341

610-567-3436

 

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

 

DEBORAH BLAIR 4 CIVIL ACTION
413 Radcliffe Way
Downingtown, PA 19335
Plaintiff
: JURY TRIAL BY TWELVE
v. ; (12) JURORS DEMANDED
THE VANGUARD GROUP, INC.
100 Vanguard Boulevard
Malvern, PA 19355
Defendant
CIVIL COMPLAINT

NOW COMES Plaintiff Deborah Blair who, by and through counsel, bring this action for
damages suffered as a result of the discriminatory and retaliatory actions of the above-captioned
Defendant pursuant to Title VII of the Civil Rights Act of 1964, disability discrimination and
retaliation under the Americans with Disabilities Act of 1990, and retaliation under the F amily
Medical Leave Act of 1993. In support thereof, Plaintiff avers the following:

Parties
Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 8 of 28

1. Plaintiff Deborah Blair ("Plaintiff" or "Ms. Blair") is an adult individual whose primary
residence is 413 Radcliffe Way, Downingtown, PA 19335, in Chester County, in the
Eastern District of Pennsylvania.

2. Defendant The Vanguard Group, Inc. ("Defendant" or "Vanguard"), is a Pennsylvania
corporation that employs 15 or more employees for each workday for each of 20 weeks in a
calendar year, with its corporate headquarters located at 100 Vanguard Boulevard,
Malvern, PA 19355, in Chester County, in the Eastern District of Pennsylvania.

Jurisdiction

3. Pursuant to 28 U.S.C. §§ 1331 and 1343(a)(3), this Court has subject matter jurisdiction,
specifically federal question jurisdiction, over Plaintiff's claims arising under 42 U.S.C. §
2000¢ et seq. (Title VII of the Civil Rights Act of 1964, or "Title VII"), 42 U.S.C. § 12101
et seq. (The Americans with Disabilities Act of 1990, or "ADA"), and 29 U.S.C. § 2601 e¢
seq. (the Family Medical Leave Act of 1993, or "FMLA") on the basis that Ms. Blair
suffered an adverse employment action as the result of retaliation for engaging in protected
activity against ongoing sexual harassment, age discrimination, and retaliation for
exercising her rights under the FMLA.

4. Personal jurisdiction is appropriately exercised by this Court over all of the parties because,
at all relevant times herein, Plaintiff was a resident of the Eastern District of Pennsylvania,
and Defendant's corporate headquarters are based in the Eastern District of Pennsylvania.
Additionally, the acts and omissions complained of herein all took place on Defendant's
corporate campus located in the Eastern District of Pennsylvania.

Venue
Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 9 of 28

Pursuant to 28 U.S.C. § 1391(b)(2), the Eastern District of Pennsylvania is the appropriate
venue for this action, because a substantial part of the events or omissions giving rise to
Plaintiff's claims occurred in this venue.
Specifically, the events in question all occurred in the Eastern District of Pennsylvania, the
overwhelming majority of witnesses and evidence in this matter would be located in the
Eastern District of Pennsylvania, and all of the parties are situated in the Eastern District.
Exhaustion of Administrative Remedies

On or about August 17, 2018, Plaintiff filed a Charge of Discrimination with the Equal
Employment Opportunity Commission ("EEOC").
Plaintiff's Charge of Discrimination alleged discrimination on the basis of sex, disability,
age, and retaliation, that culminated in Plaintiff being forced to take FMLA leave, only to
return to find that her position had been given to someone else.

On September 6, 2018, the EEOC issued a Notice of Right to Sue following its
investigation. A copy of the EEOC Notice is attached as "Exhibit A."

Factual History

10. Plaintiff hereby incorporates each of the foregoing averments by reference as though fully

set forth herein.

Background

11. For over twenty years, Ms. Blair has worked for Vanguard, an investment advisor that

12.

employs over 16,000 employees, and is headquartered in Malvern, Pennsylvania.
Vanguard's headquarters also serves as a sprawling campus where its various employees

work. There are multiple buildings on Vanguard's campus where various departments are

based.
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Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 10 of 28

Ms. Blair's position, at all times relevant herein, was as Line Manager in Production
Services. Plaintiff's position entailed global information technology management and
production support, employing safeguards for protecting Defendant's information, and
troubleshooting and resolving information technology problems that, if left unchecked,
could have had devastating consequences for Vanguard and its many clients. This included
running Vanguard's "Production Center of Excellence”, and pricing Vanguard's massive
investment portfolio--collectively worth literally trillions of dollars--on a ni ghtly basis.
Prior to late 2017, Ms. Blair received overwhelmingly positive performance reviews,
without any meaningful negative comments. Performance reviews were administered
twice annually, first as a "midyear" review, and again as a "final review." These reviews,
which include her 2016 end-year and 2017 mid-year performance reviews, also included
glowing praise from her peers and the team of employees who she supervised.

From approximately 2013 to 2016, Ms. Blair's team worked out of the RAD Building, one
of the many various buildings located on Vanguard's campus.

While working at the RAD Building during this time period, Ms. Blair was the subject of
on-going, pervasive, and invidious sexual harassment carried out by multiple male co-
workers from a separate department housed in the same building.

This sexual harassment included a myriad of "wolf-whistles" and "cat-calls" whenever Ms.
Blair walked by these men, and multiple, sexual comments about her appearance. One
such comment was that Plaintiff had the body of a specific adult film actress.

In a separate incident, at a work event, another male co-worker from the RAD Building
made multiple disparaging and suggestive comments about Ms. Blair's physical

appearance, and asked her to sit on his lap.
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Case 2:18-cv-05255-PD Document1 Filed 12/05/18 Page 11 of 28

Ms. Blair reported this on-going harassment to Human Resources, but this did nothing to
ameliorate the harassment, which persisted, with further lewd comments and whistles from -
the men in question.

This pervasive harassment had severe detrimental effects on Ms. Blair's health and well-
being, resulting in her diagnosis of anxiety, depression, and high blood pressure.

In September 2016, Ms. Blair's team was re-located to a separate building, the Theseus
Building ("Theseus"), where the ongoing sexual harassment from the past several years

was not present, as the men who engaged in the harassment were not present at this
building. Ms. Blair's health and symptoms resulting from the harassment at the RAD
Building greatly improved.

Ms. Blair's reports to Human Resources and concerns about the ongoing sexual harassment
were well-known to others at Vanguard, including Ms. Blair's manager at the time of the
move to Theseus, Devang Patel ("Patel").

In late 2016, after the move from the RAD Building to Theseus, Ms. Blair specifically told
Patel that she could not go back to the RAD Building due to the sexual harassment she
suffered there and the effects the harassment had on her life and health. Patel told Plaintiff
that he understood and indicated that Ms. Blair would not have to return to work at the
RAD Building.

Mary Ann Fornarol ("Fornarol") succeeded Patel as Ms. Blair's manager in September
2017. At this time, Ms. Blair was still working out of Theseus.

As with Patel, Ms. Blair specifically informed Fornarol of the harassment Ms. Blair had

suffered at the RAD Building and the effects the harassment had on her health, and asked
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that she never be forced to work there again. Fornarol expressly promised: "I will never
send you back."

Basis for Instant Action
By late 2017 to early 2018, notwithstanding her prior promise to Ms. Blair and her
knowledge of the pervasive sexual harassment she suffered over a three-year period,
Fornarol informed Ms. Blair that her team would be returning to the RAD Building, and
that Ms. Blair would be required to work there full time.
When Ms. Blair protested to Fornarol, citing her previous discussions with Fornarol and the
toll the harassment had taken on her, Fornarol issued Ms. Blair's 2017 end-year
performance review, which for the first time was negative.
Back-and-forth correspondence ensued in early 2018 between Ms. Blair, Fornarol, and
Nina Mattson-Thomas ("Mattson-Thomas"), in Vanguard's Human Relations Department
about whether or not Ms. Blair could be forced to return to work in the RAD Building.
Fornarol became increasingly inconsistent in her positions, indicating that Ms. Blair did not
have to return to the RAD Building, before saying again that Ms. Blair would in fact have
to work there.
Throughout these discussions, the anxiety and depression Ms. Blair had suffered during the
three years of harassment at the RAD Building returned, including physical symptoms such
as heart palpitations and dangerously high blood pressure, forcing Ms. Blair to seek
medical attention from a physician and a psychologist.
On February 16, 2018, Fornarol directly informed Ms. Blair that, despite Ms. Blair's
concerns and the history of harassment she had suffered there, Ms. Blair had no choice as

to where she could work, and would have to leave Theseus and work at the RAD Building.
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When Ms. Blair asked whether she could simply work from home, Fornarol forbade this,
stating that Ms. Blair needed to be "present", on site, for her team.

The suggestions of working from home, and of working from Theseus rather than the RAD
Building, were made by Ms. Blair's doctors to ameliorate her anxiety, depression, and high
blood pressure.

Following this encounter on February 16, 2018, and due to the extreme anxiety, depression,
heart palpitations, and high blood pressure Ms. Blair was suffering, Ms. Blair took short
term disability leave and FMLA leave, pursuant to the recommendations of her doctor, who

provided Vanguard with a note setting forth the reason for her leave.

. Ms. Blair returned from FMLA leave on May 10, 2018. When she returned, Ms. Blair

discovered, without prior notice, that she no longer held her previous position--one she had
held for three years at the time after her working her way up through the corporate ladder
for nearly two decades--because Fornarol had given Ms. Blair's position to another
employee.

This directly contradicted a conversation Ms. Blair had with Mattson-Thomas on April 16,
2018, while on leave. During this conversation, Mattson-Thomas informed Ms. Blair that
while Fornarol intended to send Ms. Blair's team to the RAD Building, Ms. Blair would be
allowed to continue working in Theseus. This was specifically because of the history of
sexual harassment Ms. Blair suffered at the RAD Building and her previously expressed
concems to Fornarol and Mattson-Thomas.

Additionally, Mattson-Thomas informed Ms. Blair that her position would be held for her,

and would be waiting for her upon her return from FMLA leave.
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37. During this phone conversation, Ms. Blair requested that Mattson-Thomas confirm the

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foregoing terms in writing. Mattson-Thomas refused.

On May 10, upon her return from FMLA leave, Ms. Blair learned that Fornarol had not
honored this promise by giving her position to another employee, Amy Toth ("Toth"), who
lacked the experience and qualifications of Ms. Blair, through indirect channels such as e-
mails, voicemails from Human Resources, and conversations with co-workers. Fornarol
did not directly inform Ms. Blair that her position had given to another employee during
Ms. Blair's FMLA leave. Ms. Blair had been given a different position with fewer
responsibilities in Data Center Transformation.

Also on May 10, Ms. Blair attended a Vanguard leadership conference at Quarry Ridge
(another location on Defendant's campus).

At the conference, a male Vanguard employee, Nick Caruso ("Caruso"), engaged in
multiple instances of sexually harassing behavior directed towards Ms. Blair in front of her
peers, including Larry Towle ("Towle"), a previous supervisor of Blair's.

Caruso made multiple lewd, inappropriate, and sexually suggestive comments about Ms.
Blair's appearance in front of her peers, including "oh, look at this!"; "we missed that"
(referring to Ms. Blair's physical appearance); and "I hate your dress".

Ms. Blair felt humiliated and demeaned by Caruso's harassment--which came the day Ms.
Blair returned from FMLA leave. Nothing was done by any of the multiple witnesses in
attendance, including Towle, to stop or ameliorate the harassment.

In another instance following Ms. Blair's return from FMLA leave, another male Vanguard

employee, Andrew Lazarro ("Lazarro"), stood directly behind Ms. Blair, tapped her on the
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shoulder, and told her that for "over the shoulder training", Ms. Blair would have to put her
hair up. He repeated this again after Ms. Blair ignored him.

On May 11, the employee who Fornarol replaced Ms. Blair with, Amy Toth, who knew
Ms. Blair was upset over losing her position during FMLA leave, told Ms. Blair that
Fornarol "is not going to give you your job back." Toth also described Fornarol as "evil" to
Ms. Blair.

Less than two-weeks later, Fornarol issued Ms. Blair's 2018 mid-year review--despite Ms.
Blair being out on leave from mid-February through May 10.

Fornarol's review was scathing, overwhelmingly negative, far worse than the 2017 end-
year review, and included numerous comments and observations that were flatly false,
untrue, and easily rebuttable.

For example, Fornarol's review stated that Ms. Blair was not trusted or respected by her
team members. Yet multiple team members approached Ms. Blair upon her return from
FMLA leave expressing relief that she was back, telling her she was missed, and
complaining that Toth was not as good as Ms. Blair.

Additionally, Ms. Blair was also told by another employee that Fornarol allowed Toth to
work from home and come in late. This was in direct contradiction to Fornarol's previous
statement that Ms. Blair had to work in the RAD Building because she had to be on site at
all times.

On or about May 24, 2018, Ms. Blair submitted a point-by-point rebuttal to the
inaccuracies and false statements in Fornarol's scathing review, referencing the loss of her
position and Fornarol's threatened placement of Ms. Blair back in the RAD Building,

necessitating her FMLA leave.
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50. Upon reading Ms. Blair's rebuttal, Fornarol immediately turned hostile and confrontational

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towards Ms. Blair, by: humiliating Ms. Blair in public meetings by skipping over her and
pointedly ignoring her; accusing Ms. Blair of being negative and not being able to accept
feedback based on her rebuttal; requiring Ms. Blair to solicit personal feedback about
herself from her own co-workers (which was humiliating and demeaning, yet was all
positive, and directly contradictory to Fornarol's review); singling out Ms. Blair during
group meetings and presentations, setting her up for failure, while praising similarly
situated male colleagues, such as Towle during a meeting on July 24; telling Ms. Blair on
July 20, 2018, that Ms. Blair needed to start "proving her value"; accusing Ms. Blair on
August 3, 2018 of not trusting Fornarol; and awarding everyone on Ms. Blair's team for
their efforts in organizing a corporate event, except for Ms. Blair herself.

Most of these instances came after Vanguard's receipt of a notice to sue letter sent on Ms.
Blair's behalf dated July 13, 2018, specifically citing the sexual harassment and FMLA
retaliation.

On or about August 27, 2018, extremely distraught, demeaned, and humiliated due to this
ongoing harassment and hostile treatment, Ms. Blair met with Carol Dow ("Dow"),
Fornarol's direct superior.

Dow lauded Ms. Blair's work, and further commended Ms. Blair on her rebuttal to
Fornarol's review. However, despite Ms. Blair bringing up the loss of her position while
out on FMLA leave several times, Dow ignored these comments.

Dow further asked, unsolicited, whether the "sexual harassment had been taken care of",
and agreed with Ms. Blair that Fornarol's conduct was humiliating and improper. By the

end of the meeting, Dow promised Ms. Blair that she would "get back to you on this."

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After several weeks without any response from Dow, Ms. Blair followed up with Mattson-
Thomas, who told Ms. Blair that Dow had not made a record of the August 27 meeting, and
had been transferred to a completely different building. Nothing ever resulted from the
meeting with Dow.

The hostile environment with Fornarol persisted, with Ms. Blair's attendant physical
symptoms worsening, yet by October 2018, Ms. Blair was informed that she was to oversee
a complicated data transfer--something that was supposed to be within Toth's duties, i.e.,
the duties of the position Ms. Blair previously held, and lost while on FMLA leave.

Ms. Blair was expected to oversee the entire project, without any restoration of her position
or pay increase. The project would have entailed overtime hours and working on
weekends.
No longer able to endure the humiliating and demeaning retaliatory environment, combined
with the increased pressure of the added responsibilities without any correlating
compensation or restoration of her old privileges, Ms. Blair, upon the recommendation and
note of her psychologist, Dr. Dennis Given, went on leave on October 19, 2018.

COUNTI

VIOLATION OF TITLE VU--SEXUAL HARASSMENT AND RETALIATION
Plaintiff hereby incorporates each of the foregoing averments by reference as though fully
set forth herein.

Prior to the events forming the basis for the instant action, Ms. Blair suffered severe and
pervasive sexual harassment for three years at the RAD Building in the form of explicit

sexual comments and lewd behavior on a frequent and recurring basis.

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This history of harassment was well-documented with Defendant's Human Resources and
was well-known by Ms. Blair's supervisors, including Fornarol, by Februrary 2018.

Human Resources and Fornarol were also aware, by February 13, 2018, that Ms. Blair had
told supervisors including Patel and Fornarol that she was able to thrive in Theseus because
she no longer had to endure or be concerned about sexual harassment, and that she could
not return to the toxic and harassing environment of the RAD Building.

While the past history of sexual harassment is outside the scope of the instant case in terms
of actionable conduct, Ms. Blair's repeated comments to Human Resources and Fornarol
that she could not return to the RAD Building because of the sexual harassment there
resulted in ongoing retaliatory conduct by Fornarol and Defendant against Ms. Blair for
these complaints and reported concerns.

This retaliation included: removing Plaintiff from her position without prior notice, while
she was on FMLA leave; Fornarol's delivering of a baseless and scathing negative mid-year
review in 2018, when Ms. Blair had only work approximately two months of the year by
the time of her review; and the campaign of humiliating and demeaning conduct carried out
by Fornarol, described supra.

This latter series of conduct was largely carried out by Fornarol afer Ms. Blair, through
counsel, sent Defendant a notice to sue letter referencing sexual harassment and retaliation.
This conduct included demeaning Ms. Blair by forcing her to report to her subordinates for
feedback; humiliating Ms. Blair by skipping her in meetings; favoring male employees
during meetings over Ms. Blair; and ongoing aggressive and hostile meetings between

Fornarol and Ms. Blair.

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66. When Ms. Blair again attempted to have this conduct ameliorated via a meeting with

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Forarol's superior, Carol Dow, during which Dow promised she would take care of Ms.
Blair's concerns, Ms. Blair was subsequently told by Mattson-Thomas that, conveniently,
there was no written log of Dow's meeting with Ms. Blair, and that Dow had been
transferred to a completely different location within Vanguard. Shortly afterwards, Ms.
Blair was tasked with heightened responsibilities, without corresponding compensation,
and without restoration of her old position.

The totality of the circumstances, not the least of which is the timing, of each of the
foregoing instances illustrates retaliatory intent on the part of Defendant, through its agents
including Fornarol and Mattson-Thomas, for Ms. Blair's protected activity, including
logging complaints of being forced to return to a sexually harassing environment, sending a
notice to sue letter citing sexual harassment and retaliation, and meeting with the

supervisor of her harasser (Fornarol), only to find that the supervisor was moved, no log
was made of the meeting, and her responsibilities unfairly and unreasonably increased.
Finally, in addition to the foregoing retaliation, Ms. Blair continued to endure sexual
harassment upon her return from FMLA leave, including the ongoing sexual harassment on
May 10 from Caruso, the physical contact and inappropriate comments about her
appearance by Lazarro, and Fornarol's blatant favoring of male co-workers such as Towle
during meetings and presentations.

This conduct, especially when considered with the previous pattern of harassment suffered
by Ms. Blair at the RAD building, constitutes a hostile work environment under the totality

of the circumstances.

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70. Ms. Blair has suffered mental anguish, emotional distress, loss of self-esteem, loss of
earnings and future earning potential, and loss of life's pleasures, including the extreme
depression, anxiety, and high blood pressure she has been diagnosed with a result of the
foregoing harassment and retaliation.

71. Accordingly, Plaintiff has suffered damages in the form of compensatory damages in
excess of $150,000; punitive damages; reasonable attorney's fees; emotional distress; and
the right to front pay and back pay, where appropriate.

WHEREFORE, Plaintiff Deborah Blair respectfully prays this Honorable Court for

compensatory damages in excess of $150,000; punitive damages; attorney's fees; emotional

distress; front pay and back pay, if appropriate; and any other relief this Honorable Court
deems necessary, fair, and appropriate.
COUNT I
DISABILITY DISCRIMINATION AND RETALIATION UNDER THE ADA

72. Plaintiff hereby incorporates each of the foregoing averments by reference as though fully
set forth herein.

73. In February 2018, Defendant, through its Human Resources Department and Fornarol,
were specifically aware that Ms. Blair had been diagnosed with extreme anxiety,
depression, and high blood pressure as a result of the harassment she had suffered at the
RAD Building.

74. Defendant also aware, by February 2018, of Ms. Blair's steadfast opposition to returning to
the RAD Building, which Fornarol had informed Ms. Blair was necessary, and of the

deleterious effect returning to the RAD Building would have on Ms. Blair's health.

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Ms. Blair requested a reasonable accommodation from Fornarol in the form of working
from Theseus instead of returning to the RAD Building. Fornarol refused this.

Ms. Blair also requested a reasonable accommodation by working from home. Fornarol
refused this as well--despite later allowing Amy Toth, Ms. Blair's replacement, to do so.
This refusal to accommodate Ms. Blair's extreme anxiety, depression, and high blood
pressure necessitated Ms. Blair's taking of FMLA leave.

While on FMLA leave, Mattson-Thomas promised Ms. Blair that she would still have her
position upon her return, and that she would be permitted to work from Theseus, and not
the RAD Building.

Mattson-Thomas refused to put this in writing when asked, and upon her return from
FMLA leave, Ms. Blair discovered that not only did Defendant refuse to honor this
promise, but Fornarol had given Ms. Blair's position to another, less qualified employee.
The foregoing constitutes disability discrimination against Ms. Blair for her extreme
anxiety, depression, and high blood pressure; refusal to provide reasonable
accommodations for said disability despite providing such accommodations to people such
as Toth without the same conditions; and retaliation against Ms. Blair for complaining of
said discrimination and refusal to provide reasonable accommodation.

As a result of the foregoing disability and retaliatory harassment carried out by Defendant,
Ms. Blair has suffered mental anguish, emotional distress, loss of self-esteem, loss of
earnings and future earning potential, and loss of life's pleasures.

Plaintiff has also incurred punitive damages, based on the outrageous and malicious nature

of Defendant's conduct, in an exact amount to be determined at trial.

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Plaintiff also requests reasonable attorney's fees and costs, as well as any other relief

deemed appropriate by this Court, and front pay and back pay, if appropriate.

WHEREFORE, Plaintiff Deborah respectfully prays this Honorable Court for compensatory

damages in excess of $150,000; punitive damages; attorney's fees; emotional distress; front pay

and back pay, if appropriate; and any other relief this Honorable Court deems necessary, fair,

and appropriate.

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COUNT II

RETALIATION UNDER THE FMLA
Plaintiff hereby incorporates each of the foregoing averments by reference as though fully
set forth herein.
Plaintiff properly invoked her right to FMLA leave in February 2018, and was on FMLA
leave until May 10, 2018.
While Plaintiff was on FMLA leave, on April 16, 2018, Mattson-Thomas specifically
promised Ms. Blair that her position would be held for her, and that upon her return she
could not only return to her position, but also work from Theseus instead of returning to the
harassing environment of the RAD Building.
Mattson-Thomas refused to put this promise in writing, and upon Ms. Blair's return she
learned that Defendant, through Fornarol, had taken away Ms. Blair's position and given it
to Toth, a less qualified and less experienced employee. Ms. Blair was subsequently given
a lesser position.
Ms. Blair also received a scathing, negative, and baseless mid-year review from Fornarol,
despite being on FMLA leave for most of the year. This review is filled with baseless,

false, and easily refuted facts, and will forever remain a part of Ms. Blair's personnel file.

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89. Finally, Fornarol engaged in a campaign of humiliating, demeaning, and hostile conduct
that directly and adversely affected Ms. Blair's job performance as well as her overall
health and well-being.

90. This conduct (described supra) largely came after not only her return from FMLA leave,
but after Ms. Blair, through counsel, sent Defendant a notice to sue letter citing FMLA
retaliation.

91. Additionally, Ms. Blair met with Dow, Fornarol's superior, in August 2018, and
specifically referenced the loss of her position and hostile treatment by Fornarol. Dow
refused to specifically acknowledge Ms. Blair's FMLA retaliation claims, but promised she
would speak with Fornarol.

92. Instead, Ms. Blair never heard anything from Dow in the weeks following the meeting, and
subsequently was told by Mattson-Thomas that there was no written log of the meeting,
and that Dow had been transferred to a completely different building.

93. Shortly after this, Ms. Blair was given increased responsibilities--the same responsibilities
of her previously held position—for a high pressure and important task, without increased
compensation or restoration of her position.

94. The retaliatory intent and causal relation required under the FMLA is fairly inferred from
the timing of Fornarol's removal of Ms. Blair from her position--without any notice
whatsoever--after Ms. Blair was already on FMLA leave, and when Ms. Blair was
promised by Mattson-Thomas she would retain her position. Each instance of retaliatory
conduct by Fornarol likewise followed Ms. Blair's attempts to follow-up on or record a
complaint about the loss of her position during FMLA leave and her subsequent treatment

upon return from FMLA leave.

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95. Based on the foregoing, Plaintiff has suffered compensatory damages in excess of
$150,000; interest, if appropriate; and attorney's fees and costs.
WHEREFORE, Plaintiff Deborah Blair respectfully prays this Honorable Court for relief in the
form of compensatory damages in excess of $150,000 in an exact amount to be determined at
trial; interest; attorney's fees and costs; and any other relief this Court deems necessary, fair,
and appropriate.
PRAYER FOR RELIEF

Based on the foregoing, Plaintiff Deborah Blair prays for the following relief against the above-
captioned Defendant:

(1) Compensatory damages, in excess of $150,000, in an exact amount to be
determined at trial;

(2) Punitive damages, in an exact amount to be determined at trial;

(3) Attorneys’ fees and costs;

(4) Front pay and back pay, where appropriate;

(S) Interest; and

(6) Any other relief this Honorable Court deems necessary, fair, and appropriate.

Respectfully Submitted,

  
 

 

 

  

| Gerard P. Egan, Esq. (2

Exton, PA 19341
610-567-3436

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VERIFICATION
I, Deborah Blair, hereby verify that I am sufficiently familiar with the facts and circumstances
contained herein and that they are true and correct to the best of my knowledge, information, and
belief. I understand that false statements are made subject to the penalties of 18 Pa.C.S.A. § 4904

relating to unsworn falsification to authorities

pry i, J *
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Date: 12/4] 201 Lite
Deborah Blair *
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DEMAND FOR JURY TRIAL
Pursuant to F.R.C_P. 38, Plaintiff Deborah Blair demands a jury trial by twelve (12) jurors on all

claims.

Date: 13 /05/ lf Respectfully Submitted,
~~
Gérard P. Egan, Esquire (20744)

‘/Brian L. McCarthy, Esquire (319722)
Counsel for Plaintiff

 

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EXHIBIT A
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EEOC Form 161 (11:16) U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

To: From:

Philadelphia District Office
801 Market Street

Suite 1300

Philadelphia, PA 19107

Deborah Blair
413 Radcliffe Way
Downingtown, PA 19335

 

[] On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No,
Legai Unit,
§30-2018-05018 Legal Technician (215) 440-2828

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
discrimination to file your charge

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The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

LU

Other (briefly state)

- NOTICE OF SUIT RIGHTS -

(See the additional information attached to this form. J

Title Vi, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
g egec EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

half of the Commission

   

September 6, 2018

Jamie R. Williamson, (Date Mailed?
District Director

Encosures{s)

= Courtney W. Griffin, Senior Counsel, Employment
THE VANGUARD GROUP, INC.
